Case 1:24-cv-00219-HYJ-PJG ECF No. 1-1, PagelD.28 Filed 03/01/24 Page 1of1
JS 44 (Rev. 09/19) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (Si INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

ENDANTS
ake ystems, LLC, d/b/a Fifth Wheel Freight, Reese Van Heck and

I FES Maurer, Matthew Groh and Cameron Bonney

individually, and on behalf of all others similarly situated Josh Browley
(b) County of Residence of First Listed Plaintiff Kent County of Residence of First Listed Defendant _Kent
(EXCEPT IN US. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Hirm Name, Address, and Telephone Number) Attorneys (if Known)
Jonathan D. Karmel, 20 S. Clark Street, Ste. 1720, Chicago, IL
312-641-2910

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) HL. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 US. Government (9 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 1 © 1 Incorporated or Principal Place G94 04
of Business In This State
2 US. Government O 4 Diversity Citizen of Another State 2 © 2 Incorporated and Principal Place os 05
Defendant (Indicate Citizenship of Parties in Item LIT) of Business In Another State
Citizen or Subject ofa O 3 3. Foreign Nation 76 6
Foreign Country
IV. NATURE OF SUIT (Piace an “X” in One Box Only) Click here for: Nature of Suit Code Descriptions.
L CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY. OTHER STATUTES ]
C3 110 Insurance PERSONAL INJURY PERSONAL INJURY [© 625 Drug Related Seizure 1 422 Appeal 28 USC 158 (3 375 False Claims Act
© 120 Marine 0 310 Airplane (J 365 Personal Injury - of Property 21 USC 881 {CF 423 Withdrawal (1 376 Qui Tam (31 USC
(1 130 Miller Act (1 315 Airplane Product Product Liability 1 690 Other 28 USC 157 3729{a))
© 140 Negotiable Instrument Liability 0 367 Health Care/ ( 400 State Reapportionment
C3 150 Recovery of Overpayment | CJ 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS C3 410 Antitrust
& Enforcement of Judgment Slander Personal Injury (J 820 Copyrights © 430 Banks and Banking
0 151 Medicare Act C330 Federal Employers’ Product Liability ( 830 Patent 0 450 Commerce
(1 152 Recovery of Defaulted Liability 1 368 Asbestos Personal © 835 Patent - Abbreviated C} 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) (0 345 Marine Product Liability (J 840 Trademark Corrupt Organizations
(1 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY 1 480 Consumer Credit
of Veteran’s Benefits (0 350 Motor Vehicle () 370 Other Fraud (& 710 Fair Labor Standards (0 861 HIA (1395ff) (15 USC 1681 or 1692)
(0 160 Stockholders’ Suits ( 355 Motor Vehicle (1 371 Truth in Lending Act C) 862 Black Lung (923) ( 485 Telephone Consumer
© 190 Other Contract Product Liability © 380 Other Personal O 720 Labor/Management O 863 DIWC/DIWW (405(g)) Protection Act
(0 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI 1 490 Cable/Sat TV
( 196 Franchise Injury ( 385 Property Damage G 740 Railway Labor Act 0 865 RSI (405(g)) (1 850 Securities/Commodities/
() 362 Personal Injury - Product Liability 1 751 Family and Medical Exchange
Medical Malpractice an Leave Act O 890 Other Statutory Actions
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | 1 790 Other Labor Litigation FEDERAL TAX SUITS 1 891 Agricultural Acts
1 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement CO) 870 Taxes (US. Plaintiff (1 893 Environmental Matters
© 220 Foreclosure 0 441 Voting © 463 Alien Detainee Income Security Act or Defendant) GF 895 Freedom of Information
(1 230 Rent Lease & Ejectment 7 442 Employment 1 510 Motions to Vacate 871 IRS—Third Party Act
(1 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 0 896 Arbitration
CI 245 Tort Product Liability Accommodations O 530 General 899 Administrative Procedure
1} 290 All Other Real Property (3 445 Amer. w/Disabilities -]( 535 Death Penalty IMMIGRATION Act/Review or Appeal of
Employment Other: ( 462 Naturalization Application Agency Decision
CI 446 Amer. w/Disabilities -] 540 Mandamus & Other [0 465 Other Immigration C1 950 Constitutionality of
Other 1 550 Civil Rights Actions State Statutes
CO) 448 Education 0 555 Prison Condition
1 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
M1 Original (12 Removed from © 3  Remanded from (0 4 Reinstatedor © 5 Transferredfrom © 6 Multidistrict (8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity).

29 USC Section 201 et seq.

Brief description of cause: .
Fair Labor Standards Class Action

VII. REQUESTED IN (8 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Myes  CNo

VII. RELATEDCASES)
IF ANY (ee mmsiructons nae /} _DOCKET NUMBER

i

VI. CAUSE OF ACTION

DATE SIGNATURE OF ATTORXEY OF RECORD
03/01/2024
FOR OFFICE USE ONLY -

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

